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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

WILLIAM ELLIOTT ASHFORD, an individual,

       Plaintiff,                                                 Case No. 20-cv-10561
                                                                  Hon. Terrence G. Berg
vs.                                                               Mag. Elizabeth A. Stafford

UNIVERSITY OF MICHIGAN, UNIVERSITY
OF MICHIGAN – DEARBORN, DAVID
HAWKINS, an employee of the University of Michigan and
the University of Michigan-Dearborn, sued in his official
capacity, jointly and severally, GARY GORSKI, an employee
of the University of Michigan and the University of Michigan-
Dearborn, sued in his personal capacity, jointly and severally,
BRYAN DADEY, an employee of the University of
Michigan and the University of Michigan-Dearborn, sued in his
official capacity, jointly and severally, and JEFFREY
EVANS, an employee of the University of Michigan and the
University of Michigan-Dearborn, sued in his personal capacity,
jointly and severally,

       Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     MILLER, CANFIELD, PADDOCK
Deborah L. Gordon (P27058)             and STONE, P.L.C.
Elizabeth Marzotto Taylor (P82061)     Brian M. Schwartz (P69018)
Attorneys for Plaintiff                Jerome Watson (P27082)
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        PLAINTIFF’S MOTION FOR PROSPECTIVE INJUNCTIVE,
             EQUITABLE, AND DECLARATORY RELIEF
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       NOW COMES Plaintiff, through his counsel, Deborah Gordon Law, and for

his Motion for Prospective Injunctive, Equitable, and Declaratory Relief states as

follows:

       1.     Defendants illegally suspended Plaintiff for two weeks without pay in

January 2020.

       2.     On May 21, 2024, a jury held that the suspension violated the First

Amendment to the United States Constitution, Title IX, and Michigan’s Whistleblower

Protection Act.

       3.     Plaintiff seeks any and all forms of prospective, injunctive, equitable, and

declaratory relief available to him for the violation of his civil rights in light of the jury’s

verdict, including:

              a.      A declaration of this Court that Defendants unlawfully retaliated

       against him in violation of the First Amendment to the United States

       Constitution, Title IX, and Michigan’s Whistleblower Protection Act by

       suspending him for 10 days without pay on January 29, 2020;

              b.      An order expunging Defendants’ records of any and all information

       tied to the unlawful suspension and prohibiting the reporting of the unlawful

       suspension to third parties; and

              c.      An injunction prohibiting Defendants from engaging in any further

       acts of discrimination, intimidation, or retaliation against him.



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Wherefore, Plaintiff seeks entry of an Order compelling Defendants to expunge all

University records of any and all information tied to the unlawful suspension;

prohibiting Defendants from reporting the unlawful suspension to third parties;

enjoining Defendants against any further acts of discrimination, intimidation, or

retaliation against Plaintiff; and declaring that Defendants retaliated against him in

violation of the First Amendment to the United States Constitution, Title IX, and

Michigan’s Whistleblower Protection Act.

      4.       Pursuant to L.R. 7.1, on May 23, 2024, Plaintiff’s counsel sought

Defendants’ concurrence in the relief sought, but such concurrence was not

forthcoming.



Dated: May 23, 2024                    Respectfully submitted,

                                       DEBORAH GORDON LAW
                                       /s/ Deborah L. Gordon
                                       Deborah L. Gordon (P27058)
                                       Attorneys for Plaintiff
                                       33 Bloomfield Hills Parkway, Suite 220
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

WILLIAM ELLIOTT ASHFORD, an
individual,
                                                            Case No. 20-cv-10561
       Plaintiff,                                           Hon. Terrence G. Berg
                                                            Mag. Elizabeth A. Stafford
vs.

UNIVERSITY OF MICHIGAN,
UNIVERSITY OF MICHIGAN –
DEARBORN, DAVID HAWKINS, an employee                           PLAINTIFF’S BRIEF IN
of the University of Michigan and the University of              SUPPORT OF HIS
Michigan-Dearborn, sued in his official capacity, jointly          MOTION FOR
and severally, GARY GORSKI, an employee of the                    PROSPECTIVE
University of Michigan and the University of Michigan-             INJUNCTIVE,
Dearborn, sued in his personal capacity, jointly and             EQUITABLE, AND
severally, BRYAN DADEY, an employee of the                     DECLARATORY RELIEF
University of Michigan and the University of Michigan-
Dearborn, sued in his official capacity, jointly and
severally, and JEFFREY EVANS, an employee of
the University of Michigan and the University of
Michigan-Dearborn, sued in his personal capacity, jointly
and severally,

       Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     MILLER, CANFIELD, PADDOCK
Deborah L. Gordon (P27058)             and STONE, P.L.C.
Elizabeth Marzotto Taylor (P82061)     Brian M. Schwartz (P69018)
Attorneys for Plaintiff                Jerome Watson (P27082)
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I.     Factual and Procedural History

       On January 29, 2020, Defendants illegally suspended Plaintiff for two weeks

without pay. This case was filed on March 3, 2020. ECF No. 1. Plaintiff sought

“Declaratory and Equitable Relief” in the form of “[a]n order from this Court requiring

Defendants to remove all discipline related to the claims in this case from Plaintiff’s

record; an injunction from this Court prohibiting any further acts of discrimination,

intimidation, or retaliation” and “whatever other declaratory and/or equitable relief 1

appears appropriate at the time of final judgment”. ECF No. 1, PageID.26.

       On May 21, 2024, a jury held that the suspension violated the First Amendment

to the United States Constitution, Title IX, and Michigan’s Whistleblower Protection

Act (“WBPA”). ECF No. 73. Based on the jury’s verdict, Plaintiff seeks an order

granting him prospective, injunctive, equitable, and declaratory relief.

II.    Law and Argument

       The relief sought here is a proper exercise of the Court’s equitable authority.

Salazar v. Buono, 559 U.S. 700, 714 (2010); see also Beacon Theatres, Inc. v. Westover, 359 U.S.

500, 508 (1959) (proper for the Court to grant equitable relief post-verdict). “Remedies

designed to end a continuing violation of federal law are necessary to vindicate the

federal interest in assuring the supremacy of that law.” Green v. Mansour, 474 U.S. 64

(1985). To further the purpose of § 1983, the remedies for injuries caused by the


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 Plaintiff also intends to file a separate motion for costs, attorney fees, and pre- and
post-judgment interest.
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deprivation of constitutional rights should be tailored to the interests protected by the

particular right in question. Carey v. Piphus, 435 U.S. 247, 258-259 (1978); see also Milliken

v. Bradley, 433 U.S. 267, 282 (1977). The Sixth Circuit has already held that Plaintiff

properly requested prospective equitable relief against the individual state actors named

in their official capacities (Hawkins and Dadey) in the form of expungement of

University records and an order prohibiting further unlawful discrimination and

retaliation. Ashford v. Univ. of Michigan, 89 F.4th 960, 969–70 (6th Cir. 2024). This is now

the law of the case. United States v. Moored, 38 F.3d 1419, 1421 (6th Cir.1994). The jury

determined the issues common to Plaintiff’s claims for legal and equitable relief, and its

verdict operates as a finding of fact binding on the trial court in its determination of

Plaintiff’s claims for equitable relief. Moltan Co. v. Eagle–Picher Indus., Inc., 55 F.3d 1171,

1174–75 (6th Cir.1995) (quoting Dybczak v. Tuskegee Institute, 737 F.2d 1524, 1526–27

(11th Cir.1984)).

       Based on the jury’s verdict and the law of the case, Plaintiff is entitled to a

“statement of rights” reflecting that the January 29, 2020 suspension was unlawful.

Skyworks, Ltd. v. Centers for Disease Control & Prevention, 542 F. Supp. 3d 719, 728 (N.D.

Ohio 2021) (declaratory relief is a “statement of rights”). Furthermore, the existence

of University records reflecting the unlawful suspension and the prospect of the

suspension being reported to third parties is future harm for which there is no adequate

remedy at law. Defendants will suffer no hardship from entry of the requested relief

because it would only require them to conform their behavior to the law. The relief
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would also serve the public interest in ending civil rights violations. To prevent ongoing

and future harm stemming from Defendants’ violation of Plaintiff’s civil rights, and in

accordance with 28 USC § 1983, Title IX, the WBPA, the jury’s verdict, and the Sixth

Circuit’s holding in Ashford v. Univ. of Michigan (supra), Plaintiff seeks an order granting

him the following prospective, injunctive, equitable, and declaratory relief:

        a.    A declaration of this Court that Defendants unlawfully retaliated against

              him in violation of the First Amendment to the United States

              Constitution, Title IX, and Michigan’s Whistleblower Protection Act by

              suspending him for 10 days without pay on January 29, 2020;

        b.    An order expunging Defendants’ records of any and all information tied

              to the unlawful suspension and prohibiting the reporting of the unlawful

              suspension to third parties; and

        c.    An injunction prohibiting Defendants from engaging in any further acts

              of discrimination, intimidation, or retaliation against him.


Dated: May 23, 2024                       Respectfully submitted,

                                          DEBORAH GORDON LAW
                                          /s/ Deborah L. Gordon
                                          Deborah L. Gordon (P27058)
                                          Attorneys for Plaintiff
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                           CERTIFICATE OF SERVICE

        I hereby certify that on May 23, 2024, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record.

                                        DEBORAH GORDON LAW
                                        /s/ Deborah L. Gordon
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